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                            UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    MARK WHITE, individually and on behalf )
    of all others similarly situated,      )
                                           )              Civil Action No. 2:17-cv-01047
                    Plaintiff,             )
                                           )              Honorable Nora Barry Fischer
           V.                                     )
                                                  )       ELECTRONICALLY FILED
    1 PERSON AT A TIME, LLC,                      )
                                                  )
                   Defendant.                     )

                         ,-·--=~=-===::;;:.- ] ORDER GRANTING MOTION FOR
                FINAL APPROVAL, ATTORNEYS' FEES AND INCENTIVE AWARD

           WHEREAS, the Comt has considered Plaintiff's Motion for Final Approval, Attorneys'

    Fees and Incentive Award, and the memorandum and supporting materials filed therewith.

           IT IS HEREBY ORDERED:

           1.      ·After reviewing the pleadings and the papers supporting preliminary and final

    approval, the Comt confirms that the proposed settlement class is proper ahd should be certified

    as follows: "All current and former employees who have worked for Defendant as in-home

    healthcare workers from January 3, 2015 through August 10, 2017."

           2.      The Court further confirms that: (1) the class is so numerous that joinder is

    impracticable; (2) questions of law and fact are common to the class; (3) the claims of the

    Representative Plaintiff, Mark White, are typical of the claims of the class; (4) the

    Representative Plaintiff will fairly and adequately protect the interests of the class; (5) the

    common questions of law and fact predominate over any individual questions; and (6) the class

    action mechanism is the best means for protecting the interests of all of the class members.

           3.      The Court appoints Gary F. Lynch, Jamisen A. Etzel, and Kevin Abramowicz of

,   Carlson Lynch Sweet Kilpela & Carpenter LLP as class counsel.



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        4.      The Court finds that the notice plan previously approved by the Court was

implemented appropriately and comported with the requirements· of the federal rules, the class

members' due process rights, and the principles of fairness.

        5.      The Court finds the proposed settlement fair, reasonable, and adequate as required

by Fed. R. Civ. P. 23(e), and in light of: (1) the complexity, expense and likely duration of the

litigation; (2) the reaction of the class to the settlement; (3) the stage of the proceedings and the

amount of discovery completed; (4) the risks of establishing liability; ( 5) the risks of establishing

damages; (6) the risks of maintaining the class action through trial; (7) the ability of the

defendants to withstand a greater judgment; (8) the range of reasonableness of the settlement

fund in light of the best possible recovery; and (9) the range of reasonableness of the settlement

fund to a possible recovery in light of all the attendant risks of litigation.

        6.      The Court therefore approves the settlement as a fair, reasonable, and adequate

compromise of a bona fide dispute over the application of the Fair Labor Standards Act and

Pennsylvania wage-and-hour law. The settlement is the result of arm's-length negotiations

between experienced attorneys who are familiar with class action litigation.

        7.     Fmihermore, the court approves the attorneys' fees of $7,500 as the Court finds

that award is reasonable as required !;Jy Fed. R. Civ. P. 23(h), and in light of: (1) the size of the

fund created and the number of beneficiaries; (2) the presence or absence of substantial

objections by members of the class to the settlement terms and/or fees requested by counsel; (3)

the skill and efficiency of the attc;n-neys involved; (4) the complexity and duration of the

litigation; (5) the risk of nonpayment; (6) the amount of time devoted to the case by plaintiffs'

counsel; (7) the awards in similar cases; (8) the value of benefits attributable to the efforts of

class counsel relative to the efforts· of other groups, such as government agencies conducting




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      investigations; (9) the percentage fee that would have been negotiated had the case been subject

      to a private contingent fee arrangement a_t the time counsel was retained; and (10) any innovative

      terms of settlement.

             8.        The Court also approves_ the award of $1,000 as an incentive award to named

      Plaintiff Mark White, and finds the pay_ment is reasonable in light of the time, effort, and risks

      borne by Mr. White in bringing this action to resolution.

             9.        As no objections to the settlement have been filed, the "Effective Date" for

      purpose of the settlement agreement is the date of this order.

             10.       The Court hereby orders that the settlement fund as set forth in the settlement

      agreement shall be distributed as follows: $25,000 to the class members; $7,500 to class counsel

      to cover attorneys' fees; and $1,000 to the named Plaintiff, Mark White, as an incentive award.

             11.       The Court further orders payments to the class members from the net settlement

      fund shall be determined based on Paragraph 1 of the settlement agreement arid shall be

      distributed in accordance with Paragraph 9 of the settlement agreement.

             12.       In exchange for this relief, the class members release the claims identified in

      Paragraph 4 of the settlement agreement.

             13.       Payment of Plaintiff Mark White's incentive award and counsel's attorneys' fees

      shall be made in accordance with Para~raph's 10 and 11 of the settlement agreement.

             14.       Defendant is solely responsible for payment of any fees or expenses related to

      notice and distribution of the class settlement and any fees or expenses charged by a settlement

      administrator.

             15.       This case is hereby dismissed with prejudice, and the Clerk is directed to close the

      case and enter judgment.




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       16.     The Court shall retain jurisdiction with respect to the implementation and

enforcement of the terms of the Settlement, and all Parties submit to the jurisdiction of the Court

for purposes of implementing and enforcing the terms of the Settlement.



DATED:    /V11,t'Jt{, qlJI/'
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                                                          United States District Judge




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